Case 2:18-cv-16509-MCA-AME Document 82-6 Filed 05/07/21 Page 1 of 2 PageID: 691




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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY

  RESHMA ABELL,                                          :
                                                         : Civil Action No.:
                            Plaintiff,                   : 2:18-cv-16509 (MCA) (AME)
                                                         :
                             v.                          :
                                                         :
  PACIRA PHARMACEUTICALS, INC.,                          :
                                                         :
  DAVE STACK, individually and in his
                                                         :
  capacity as Chief Executive Officer of
                                                         :
  PACIRA PHARMACEUTICALS, INC.,                          :
  and RICH KAHR, PETER MURPHY,                           :
  DENNIS       McLOUGHLIN,        PAUL                   :
  CIAVOLELLA, GLENN REISER, JOYCE                        :
  DAVIS AND MATT LEHMANN, in their
  capacities as employees of PACIRA
  PHARMACEUTICALS, INC.,

                            Defendants.


      COMPENDIUM OF UNPUBLISHED CASES IN SUPPORT OF DEFENDANT’S
                  MOTION FOR SUMMARY JUDGMENT

 CASES                                                                                                       PAGE

 Cohen v. Univ. of Med. & Dentistry of N.J.,
    2013 N.J. Super. Unpub. LEXIS 3054 (App. Div. Dec. 30, 2013)............................................1

 Chambers v. Heidelberg USA, Inc.,
    2006 U.S. Dist. LEXIS 32334 (D.N.J. May 5, 2006) ................................................................5

 Hoist v. N.J.,
    2015 U.S. Dist. LEXIS 106527 (D.N.J. Aug. 13, 2015) ............................................................19
Case 2:18-cv-16509-MCA-AME Document 82-6 Filed 05/07/21 Page 2 of 2 PageID: 692




 Delbridge v. Acme Food Corp.,
    2010 U.S. Dist. LEXIS 2789 (D.N.J. January 14, 2010). ........................................................38

 Solis v. Sher,
     2011 N.J. Super. Unpub. LEXIS 2939 (App. Div. Dec. 5, 2011)............................................43

 Attanasio v. Plainfield Country Club,
     2009 N.J. Super. Unpub. LEXIS 1592 (App. Div. June 18, 2009)..........................................46

 Ali v. Woodbridge Twp. Sch. District,
     2018 U.S. Dist. LEXIS 72877 (D.N.J. Apr. 20, 2019) ............................................................54

 Ahmed v. Interstat Mgmt. Co.,
   2012 U.S. Dist. LEXIS 103512 (D.N.J. July 25, 2012) ...........................................................66

 Ciecka v. Cooper Health Sys.,
    Civ. Act. No. 15-4075, 2017 U.S. Dist. LEXIS 20539 (D.N.J Feb. 14, 2017) ........................86

 Houston v. Dialysis Clinic, Inc.,
    2015 U.S. Dist. LEXIS 83151 (D.N.J. June 26, 2015) ............................................................96

 Malloy v. Intercall, Inc.,
    2010 U.S. Dist. LEXIS 136808 (D.N.J. Dec. 28, 2010) ........................................................108

 Shinn v. FedEx Freight, Inc.,
    2016 U.S. Dist. LEXIS 169037 (D.N.J., Dec. 7, 2016) .........................................................124

 Pizarro v. Int’l Paper Co.,
     2020 U.S. Dist. LEXIS 36760 (D.N.J. Mar. 3, 2020) ............................................................129

 Scott v. Schindler Elevator Corp.,
    2019 U.S. Dist. LEXIS 74774 (D.N.J. May 3, 2019) ............................................................134




                                                          2
